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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                January 8, 2015
                                       
                                       
                                       

In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 8[th] day of January, 2015.

10-14-00015-CR	JENNIFER KELLY v. THE STATE OF TEXAS - ON APPEAL FROM THE 278[TH] DISTRICT COURT OF MADISON COUNTY - TRIAL COURT NO. 13-11915-278-15 - AFFIRMED AS MODIFIED - Memorandum Opinion by Justice Davis:

"This cause came on to be heard on the transcript of the record, and the same being considered, because it is the opinion of this Court that there was error in reciting in the judgment, the judgment is reformed to delete the finding that Kelly pay her court appointed attorney's fees.  It is therefore ordered, adjudged and decreed by the Court that, as reformed, the judgment be in all things affirmed, and that the appellant pay all costs in this behalf expended and that this decision be certified below for observance."

